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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                )
                                         )
                  Plaintiff,             )            4:04CR3128
                                         )
          v.                             )
                                         )
                                         )
MARK R. SCHNEIDER,                       )      MEMORANDUM AND ORDER
                                         )
                  Defendant.             )


     Defendant has filed an amended motion requesting release to
live with his father as third-party custodian.                Filing 89.       I
previously granted defendant’s motion to have the pretrial services
officer investigate the proposal and report to the court.                   The
report has been received.     It recommends denial of the request for
release because defendant’s guilty plea has now been accepted1 and
he is no longer eligible for release2, and also because his co-

     1
       Defendant’s guilty plea was accepted by memorandum and
order of Judge Kopf on January 19, 2006. Filing 92.
     2
          18 U.S.C. §3143(a)(2) states:

          (2) The judicial officer shall order that a
          person who has been found guilty of an
          offense in a case described in subparagraph
          (A), (B), or (C) of subsection (f)(1) of
          section 3142 and is awaiting imposition or
          execution of sentence be detained unless—-
               (A)(i) the judicial officer finds
               there is a substantial likelihood
               that a motion for acquittal or new
               trial will be granted; or
               (ii)an attorney for the Government
               has recommended that no sentence of
               imprisonment be imposed on the
               person; and
               (B) the judicial officer finds by
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defendant and brother, Corey Schneider, who had the same plea
agreement as this defendant, is living at the residence, although
he is reportedly due to self surrender for service of his sentence
on March 1, 2006.    The government has not responded to the motion.


     Defendant has previously been evaluated for substance abuse
treatment and received recommendations for both inpatient and
outpatient treatment. Neither has been available to him because he
has been   detained.      Defendant         also   has    suffered     from   mental
difficulties since he received a head injury.


     I think there are extenuating circumstances in this case which
justify granting the defendant a period of release.                   His father is
seriously ill with a shortened life expectancy.                  He wants to have
his head wounds checked medically before he serves his sentence.
In addition, his brother is in the same situation, that is,
disqualified for release under 18 U.S.C. §3143(a)(2), and yet he is
released. If the pretrial services officer can assist defendant in
getting admitted to an intensive outpatient treatment program, and
so long as he abides by his conditions of release, I believe he
does not present a risk of flight or a danger to the community.
However, if he uses alcohol or drugs or drops out of the treatment
program or   in   any   other   way     fails      to    abide   by   each    of   the
conditions of release to the letter, he will be back in jail.


     IT THEREFORE HEREBY IS ORDERED,

     1. The amended motion for release, filing 89, is granted. The


                  clear and convincing evidence that
                  the person is not likely to flee or
                  pose a danger to any other person
                  or the community.

18 U.S.C. §3143(a)(2) (Emphasis added).

                                        2
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United States Marshal shall release the defendant to the custody of
his father as third party custodian, at such time as he is notified
that defendant has been admitted to an intensive outpatient
treatment program in Lincoln, Nebraska, and the required electronic
monitoring equipment has been installed at the home of the third-
party custodian.

     2. A separate order setting conditions will be entered at
such time as the defendant and his father have both signed it
promising to abide by the conditions therein, and defendant’s
attorney has also certified that she has advised defendant of his
conditions and the possible penalties if he fails to abide by his
conditions. Counsel may obtain the order at my chambers and obtain
the appropriate signatures.

     DATED February 17, 2006

                                   BY THE COURT



                                     s/  David L. Piester
                                   United States Magistrate Judge




                                     3
